8/23/22, 11:42 AM       Case 1:22-cv-00326-LM Document  1-1 Filed
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  JS 44 (Rev 09/10)


                                          UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW HAMPSHIRE
                                                          CIVIL COVER SHEET
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law.

  Plaintiff(s):                                            Defendant(s):
  First Listed Plaintiff:                                  First Listed Defendant:
  Laurie Ortolano ;                                        City of Nashua, New Hampshire ;
  County of Residence: Hillsboro County                    County of Residence: Hillsboro County

                                                           Additional Defendants(s):
                                                           Mayor of the City of Nashua James Donchess ;
                                                           Nashua Administrative Services Director Kimberly Kleiner ;
                                                           Nashua Chief Financial Officer John Griffin ;
                                                           John Duhamel ;
                                                           Nashua Corporation Counsel Steven Bolton ;
                                                           Nashua Deputy Corporation Counsel Celia Leonard ;
                                                           Michael Carignan ;
                                                           Nashua Police Sergeant Frank Lombardi ;
                                                           Inception Technologies, Inc. ;
                                                           Inception Technologies President Raymond Feoli ;


  County Where Claim For Relief Arose: Hillsboro County

  Plaintiff's Attorney(s):                                 Defendant's Attorney(s):
  Kurt S. Olson (Laurie Ortolano)
  Olson & Olson, P.A.
  31 Franklin Rd.
  Salisbury, New Hampshire 03268
  Phone: 603-748-1960
  Fax:
  Email: kolson@mslaw.edu



  Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

  Citizenship of Principal Parties (Diversity Cases Only)
       Plaintiff: N/A
       Defendant: N/A


  Origin: 1. Original Proceeding

  Nature of Suit: 440 All Other Civil Rights
  Cause of Action: Violations of 42 U.S.C. § 1983 for suppressing her free speech rights and retaliation against
  her for her exercise of speech and expression protected under the First Amendment to the United States
  Constitution; 2. Violations of 42 U.S.C. § 1983 for suppressing her right to petition government and retaliation
  against her for attempting to do so, which rights are protected under the First Amendment to the United States

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  Constitution; 3. Violations of 42 U.S.C. § 1983 for suppressing her right to substantive due process, which
  rights are protected under the Fourteenth Amendment to the United States Constitution; 4. Violations of 42
  U.S.C. § 1983 for suppressing her right to procedural due process, which right is protected under the
  Fourteenth Amendment to the United States Constitution; & etc.
  Requested in Complaint
       Class Action: Not filed as a Class Action
       Monetary Demand (in Thousands): 2,000,000.00
       Jury Demand: Yes
       Related Cases: Is NOT a refiling of a previously dismissed action



  Signature: Kurt S. Olson

  Date: 08/23/2022
          If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the updated
          JS44. Once corrected, print this form, sign and date it, and submit it with your new civil action.




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